              Case 1:21-cr-00035-RC Document 465 Filed 04/24/24 Page 1 of 8




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

       v.                                               Case No. 21 Cr. 35 (RC)

    JACK WADE WHITTON

        Defendant.

             GOVERNMENT’S SUPPLEMENTAL SENTENCING MEMORANDUM

            The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this supplemental sentencing memorandum to

inform the Court of additional conduct by the defendant, Jack Wade Whitton, on January 6, 2021.

This conduct provides further support for the government’s request that this Court sentence

Whitton to a term of incarceration of 97 months, three years of supervised release, $2,000 in

restitution, a $61,685 fine, and the mandatory $100 special assessment.



        Whitton Assaults Police Officers in the Archway Between 4:48 p.m. and 4:50 p.m.

            The government’s initial sentencing memo detailed how, approximately 20 minutes after

he assaulted police officers in the Tunnel with a crutch and dragged Officer B.M. into the mob on

the Lower West Terrace (“LWT”), Whitton returned to the Archway. He approached the line of

officers, gave them the finger, kicked at them, and ran off. Govt. Sent. Mem. (ECF No. 380) at

11. See also Exhibit 11 at 00:13-00:22; Exhibit 11A at 00:07-00:17; Exhibit 12 at 00:00-00:08;

Exhibit 12A at 00:12-00:19. 1


1
    Exhibits 11A and 12A are extended versions of Exhibits 11 and 12 respectively.

                                                    1
            Case 1:21-cr-00035-RC Document 465 Filed 04/24/24 Page 2 of 8




         As Whitton initially approached, he held an object in his hand that appears to be a bottle.

After he retreated into the crowd, he forcefully threw that object back towards the line of

officers. See Exhibit 11 at 00:16-00:26; Exhibit 11A at 00:13-00:23; Exhibit 17 at 00:12-00:17. 2

         Several seconds later, Whitton reapproached the line of officers and yelled and cursed at

them. Exhibit 18 3 at 01:10-01:15. As detailed in the government’s initial sentencing memo, he

then kicked at the line of officers, striking a riot shield held by Officer D.P., shouted “you’re gonna

die tonight!” and ran off. Govt. Sent. Mem. at 11-12. See also Exhibit 11 at 00:38-00:48; Exhibit

11A at 00:32-00:33; Exhibit 12 at 00:27-00:33; Exhibit 12A at 00:39-00:46; Exhibit 13 at 01:06-

01:12; Exhibit 13A 4 at 01:03-01:10; Exhibit 18 at 01:15-01:20.

         Whitton again returned to attack the line less than a minute later. He joined other rioters

in pushing and slamming against the police line. Exhibit 17 at 01:10-01:51; Exhibit 18 at 01:56-

02:25.




2
 Exhibit 17 is video footage of the LWT captured by an individual positioned to the northwest
of the Archway. The full video is available at
https://www.youtube.com/watch?v=vTXOkcwYxvE&t=2255s.
3
 Exhibit 18 is footage from BWC of Sgt. J.P., who assumed an elevated position on the
northside of the Tunnel.
4
    Exhibit 13A is an extended version of Exhibit 13.


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          Case 1:21-cr-00035-RC Document 465 Filed 04/24/24 Page 3 of 8




                                      Exhibit 18 at 01:59
             Whitton (circled in orange) pushes against the police line in the Tunnel


       Then, as an MPD officer at the front of the Tunnel fell and attempted to return to the line,

Whitton grabbed at the officer. (A rioter next to Whitton succeeded in grabbing the officer’s arm).




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          Case 1:21-cr-00035-RC Document 465 Filed 04/24/24 Page 4 of 8




                                       Exhibit 18 at 02:05
        Whitton (circled in orange) grabs at a police officer (circled in white) at the front
                                of the police line in the Archway

Whitton then gained a hold on the officer’s leg and, in a manner reminiscent of the assaults of

Officers B.M. and A.W. 20 minutes earlier, attempted to pull the officer out of the Tunnel and

into the mob. Exhibit 18 at 02:05-02:20; Exhibit 19. 5




5
 Exhibit 19 is video footage of the LWT captured by an individual positioned right outside the
Tunnel. The full video is available at https://archive.org/details/DqX4uz8ZoZuozB7vY/.

                                                 4
Case 1:21-cr-00035-RC Document 465 Filed 04/24/24 Page 5 of 8




                           Exhibit 18 at 02:10
       Whitton (circled in orange) pulls on an MPD officer’s leg
                    (officer’s torso circled in white)




                                  5
Case 1:21-cr-00035-RC Document 465 Filed 04/24/24 Page 6 of 8




                               Exhibit 19 at 00:07
Whitton (circled in orange) grabs and pulls an MPD officer’s leg as the officer
             (circled in white) attempts to return to the police line




                                      6
         Case 1:21-cr-00035-RC Document 465 Filed 04/24/24 Page 7 of 8




                   Whitton Throws a Construction Pylon at Police Officers

       By a little after 5:00 p.m., Whitton was still present on the LWT, to the south of the

Archway, in an elevated area right below the Upper West Terrace. There, Whitton picked up a

red construction pylon and hurled it at the police officers positioned above him. Exhibit 20 at

01:59-02:08; Exhibit 21 at 00:29-00:46.




               Exhibit 20 at 02:06                                Exhibit 20 at 02:07
                     Whitton (circled in orange) throws a construction pylon
        (circled in green in the image on the right) at police officers (indicated in white)




                                                 7
         Case 1:21-cr-00035-RC Document 465 Filed 04/24/24 Page 8 of 8




       As the government argued in its initial memo, Whitton’s offense was incredibly serious.

After dragging one police officer into an angry, violent mob, Whitton attempted to do the same

thing to another officer only 20 minutes later. He then threw a large, plastic pylon at a group of

officers. The additional conduct described only underscores the fury with which he acted on

January 6, 2021 and fully supports the government’s recommended sentence.



                                             Respectfully submitted,

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                                             UNITED STATES ATTORNEY



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